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                         UNITED STATES DISTRICT COURT

                           DISTRICT OF SOUTH DAKOTA

                                   CENTRAL DIVISION



UNITED STATES OF AMERICA,                                  3:22-CR-30086-RAL
                                                           3:14-CR-30074-RAL
                      Plaintiff,
                                               REPORT AND RECOMMENDATIONS
        vs.                                    ON DEFENDANT'S CHANGE OF PLEA
                                               AND ADMISSIONS TO SUPERVISED
VERNON ROBERT SCHMIDT,                          RELEASE REVOCATION PETITION

                      Defendant.




       The above-captioned matter came on before the Court for hearing on Tuesday,

January 16, 2024. Defendant, Vernon Robert Schmidt, appeared in person and by his

counsel, Jeffrey Fransen , while Plaintiff, United States of America ("Government")

appeared through Kirk Albertson , an Assistant United States Attorney.

       Defendant consented in open court to the Court taking his change of plea and his

consent was knowingly and voluntarily made. The Government likewise consented to

the Court taking Defendant’s plea.

       Defendant has reached a plea agreement with the Government wherein he intends

to plead guilty to Count 1 as contained in the Indictment . Defendant is charged in Count

1 of the Indictment with Felon in Possession of a Firearm in violation of 18 U.S.C. §§

922(g)(1), 924(a)(2), and 924(d). At the hearing, Defendant was advised of the nature of

the charge to which he would plead guilty and the maximum penalty applicable,

specifically:   10 years custody; 250,000 fine, or both; 3 years supervised release; 2
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additional years imprisonment if supervised release is revoked on any such revocation;

$100 assessment; and restitution.

       Upon questioning Defendant personally in open court, it is the finding of the Court

that Defendant is fully competent and capable of entering an informed plea, that he is

aware of the nature of the charged offense and the consequences of the plea, and that his

plea of guilty to the offense contained in Count 1 of the Indictment is a knowing and

voluntary plea supported by an independent basis in fact containing each of the essential

elements of the offense. It is, therefore, the Court's recommendation that the guilty plea

to Count 1 of the Indictment be accepted and that Defendant be adjudged guilty of that

offense.

       Defendant thereafter admitted that he had previously been placed on supervised

release, that the allegations set forth in Paragraphs 1, 2, 3, 4, 7 & 11 of the Third Amended

Petition to Revoke Supervised Release, Docket No. 161, were true and that he had

violated the terms and conditions of his supervised release. After examining Defendant,

the Court found that his admissions were knowingly and voluntarily made and that a

factual basis existed for the same. Based on the foregoing, the Court

       RECOMMENDS that Defendant's admissions be accepted, that his supervised

release be revoked and that a dispositional hearing be held pursuant to 18 U.S.C. '3583(e).

       The parties having waived their right to object to this report and recommendation

and there being no objection from Defendant or counsel, it is hereby

       ORDERED that a combined presentence investigation report shall be forthwith

prepared by the United States Probation Office. It is further

       ORDERED         that    Defendant   shall     remain    detained   pending   a   joint

sentencing/dispositional hearing before the District Court or until further order of a

judicial officer of this District.




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      DATED this 16th day of January, 2024.

                                      BY THE COURT:




                                      MARK A. MORENO
                                      UNITED STATES MAGISTRATE JUDGE




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